       Appellate
Appellate        Case: 18-4075
          Case: 18-4075         Document:
                          Document:       35 DateDate
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                                    UNITED STATES COURT OF APPEALS
                                        FOR THE TENTH CIRCUIT

                          Entry of Appearance and Certificate of Interested Parties


     Russell Greer,
                                                                      Case No. 18-4075
           Appellant,

     v.

     Gary R. Herbert, et al.,

           Appellees.


INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM,
INDICATING METHOD(S) OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR A
PARTY OR PARTIES AND WHO SHARE THE SAME MAILING ADDRESS MAY ENTER THEIR APPEARANCES
ON THE SAME FORM BY EACH SIGNING INDIVIDUALLY.

In accordance with 10th Cir. R. 46.1, the undersigned attorney hereby appears as counsel for Gary R. Herbert,
Sean D. Reyes, and Kathy Berg, Defendants-Appellants, in the subject case.

          Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)

[]        On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
          disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
          counsel should not include in the certificate any attorney or party identified immediately above.

[x]       There are no such parties, or any such parties have heretofore been disclosed to the court.

Lance Sorenson
Name of Counsel                                               Name of Counsel

/s/ Lance Sorenson
Signature of Counsel                                          Signature of Counsel

Office of the Utah Attorney General
160 East 300 South, Sixth Floor
P.O. Box 140856
Salt Lake City, Utah 84114-0856
Telephone: (801)366-0101
___________________________________________                   ______________________________________________
Mailing Address and Telephone Number                          Mailing Address and Telephone Number




A-5 Entry of Appearance Form 10/09
       Appellate
Appellate        Case: 18-4075
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                                                              10/01/2018     2
                                                                           Page: 2

lancesorenson@agutah.gov
E-Mail Address                                               E-Mail Address


I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was served on this 1st day

of October, 2018 via CM/ECF system on all counsel, and served via United States mail on Appellant:


Russell Greer
6337 South Highland Dr. #209
Holladay, Utah 84121
russmark@gmail.com
Pro Se Litigant


                                                              /s/ Lance Sorenson




A-5 Entry of Appearance Form 10/09
       Appellate
Appellate        Case: 18-4075
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                              UNITED STATES COURT OF APPEALS
                                  FOR THE TENTH CIRCUIT


  Russell Greer,
                                                            Case No. 18-4075
        Appellant,

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        Appellees.



                                     Certificate of Interested Parties




       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

                                  (Attach additional pages if necessary.)




A-5 Entry of Appearance Form 10/09
